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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )          8:05CR253
                    Plaintiff,              )
                                            )
      vs.                                   )           ORDER
                                            )
DANNY J. GOTTSCH and                        )
JULIE A. DUNBAR,                            )
                                            )
                    Defendants.             )

      An evidentiary hearing on all pending motions is scheduled before the undersigned
magistrate judge at 9:00 a.m. on October 7, 2005, in Courtroom No. 7, Second Floor,
Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha, Nebraska.
      Counsel are reminded of the requirements of NECrimR 12.5 which provides as follows:

      Disclosure of Evidence. This rule applies to all evidentiary hearings on
      pretrial motions in criminal cases.

             (a)    Witnesses. At the time of the hearing, and to the extent
             reasonably possible, the parties shall submit to the judge and
             courtroom deputy a written list of all witnesses whom the parties
             expect to call.
             (b)    Exhibits. At least twenty-four (24) hours before the
             hearing, each party shall mark the exhibits that party intends to
             introduce into evidence at the hearing, and provide a copy to
             counsel for all other parties and to the presiding judge.

Exhibits should be marked as follows: government’s exhibits beginning at Number 1 and
defense exhibits beginning at Number 101.

       This being a criminal case, all defendants with pending motions must be present for
the hearing.

      DATED this 9th day of September, 2005.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
